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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA

CARL E. BAKER and MARTHA J. BAKER,
husband and wife,

 

Plaintiffs,
vs. : No.
RANGE RESOURCES-APPALACHIA, LLC, CIVIL ACTION
JURY TRIAL DEMANDED
Defendant.
C O M P L A I N T

AND NOW, come the Plaintiffs, Carl E. Baker and Martha J. Baker, husband and Wife,
by their attorney, Vincent J. Barbera, Esq., and Beth A. Smith, Esq., of the law firm of Barbera,
Melvin, Svonavec & Sperlazza, LLP, and demand damages against the Defendant, Range

Resources-Appalachia, LLC, (“Range Resources”) Whereof the following are statements:

I. JURISDICTION
l. Plaintiffs, Carl E. Baker and Martha J. Baker, husband and Wife, are adult
individuals, residents of the State of Maryland having a residence and mailing address of 81

Misty Lane, Frostburg, Maryland 21532.

2. Defendant Range Resources-Appalachia, LLC, is a Delaware limited liability
company, With offices at 100 Throckmorton Street, Suite 1200, Fort Worth, Texas 76102, and
offices at 3000 Town Center Boulevard, Canonsburg, Pennsylvania 15317.

3. The matter in controversy exceeds $75,000.00.

4. The Court has jurisdiction of the case because there is diversity of citizenship and

the amount in controversy is in excess of $75,000.00.

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II. VENUE

5. Venue is appropriate in this Court. The accident that forms the basis of this suit
occurred in Washington County, Pennsylvania, which is within the judicial district of the United
States District Court for the Western District of Pennsylvania and because the Defendant has

offices and can be personally served within this judicial district.

6. The claims in question arise out of a motor vehicle accident that occurred on or
about April 22, 2017, in Somerset Township, Washington County, Pennsylvania, a county within
the Western District of Pennsylvania, Therefore venue exists pursuant to 28 U.S.C.A. §

1391(b)(2) in the United States District Court for the Western District of Pennsylvania.

III. COUNT I
CARL E. BAKER vs.
RANGE RESOURCES

7. Range Resources was the lessee of a property located in Somerset Township,
Washington County, Pennsylvania, and operated a gas well known as the Rowland Well,

together with a private road leading from State Route 136 to the Rowland Well.

8. ln the early morning hours of April 22, 2017, the husband Plaintiff, Carl E. Baker,
was operating a loaded water tank truck on behalf of Kenan Advantage Group, Inc., (“Kenan”)
hauling water into the Rowland Well site that Range Resources was using as a staging area to
provide water for fracking at another well of Range Resources. At the time and place in question
Carl E. Baker, through Kenan, was invited to enter and remain on the land of Range Resources
for a purpose directly or indirectly connected with the business dealings of Range Resources as

the possessor of the land.

9. Carl E. Baker was driving on the private road leading from State Route 136 to the
Rowland Well at the aforesaid date and time when he was suddenly blinded by powerful lights

directed from the Rowland Well toward the road he was traveling upon. The powerful lights
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were part of light plant operated by or at the direction of and under the control of Range
Resources. When Mr. Baker was blinded by the lights, he braked but in the process of bringing
the truck to a stop the right front wheel went on to the berm of the road which was very soft and
the adjacent embankment was very steep, the load shifted, the berm gave way and the truck then
went over the embankment and rolled down the hill multiple times causing serious, severe and

permanent injuries to Carl E. Baker as more fully hereinafter set forth.

10. The above described accident and hereinafter described injuries were caused by
the Defendant Range Resources by and through its agents, servants or employees inter alia as
follows:

a. ln directing the lights from the Rowland Well site directly at the oncoming
water truck operated by Carl E. Baker thereby temporarily blinding Mr. Baker;

b. In failing to maintain and provide a safe environment for the water truck
driver Carl E. Baker to operate his water truck;

c. ln failing to construct the berm of the road leading from Route 136 to the
Rowland Well site in a manner that would provide for the safety of operators of trucks including
Mr. Baker, by causing or allowing the berm of the road to give way when Mr. Baker’s loaded
Water truck needed to stop on the road with a wheel on the berm;

d. In failing to warn Carl E. Baker of the blinding light that he would face on
the road leading from Route 136 to the Rowland Well site;

e. In failing to provide barriers, guardrails or other protection to the water
trucks including that operated by Carl E. Baker to prevent them from rolling or sliding down the
steep embankment that was immediately adjacent to the road leading from Route 136 to the
Rowland Well site;

f. Range Resources as the possessor of the land knew or by the exercise of
reasonable care would have discovered that the lights from the light plant at the Rowland Well
site as positioned involved an unreasonable risk of harm to such business invitees as Carl E.
Baker and should have expected that Carl E. Baker would not discover or realize the danger or
would fail to protect himself against it and Range Resources failed to exercise reasonable care to

protect Carl E. Baker against this danger;

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g. Range Resources as the possessor of the land knew or by the exercise of
reasonable care would have discovered the soft and improperly constructed berm of the road
leading from Route 136 to the Rowland Well site and should have realized that it involved an
unreasonable risk of harm to operators of vehicles on the road including Carl E. Baker and
should have expected that these operators including Carl E. Baker would not discover or realize
the danger or would f`ail to protect themselves against it and Range Resources failed to exercise
reasonable care to protect Carl E. Baker against this danger;

h. Range Resources as possessor of the land knew or by the exercise of
reasonable care would have discovered the lack of barriers, guardrails or other protection to
prevent vehicles from rolling or sliding down the steep embankment that was immediately
adjacent to the road leading from Route 136 to the Rowland Well site and Range Resources
should have realized that it involved an unreasonable risk of harm to such invitees including the
Plaintiff and should have expected that the vehicle operators including the Plaintiff would not
discover or realize the danger or fail to protect themselves against it, and Range Resources failed
to exercise reasonable care to protect Carl E. Baker against this danger;

i. In otherwise failing to construct and maintain the road and Rowland Well
staging area in a manner that would protect Carl E. Baker while on the Defendant’s property
while performing services that benefitted the Defendant; and

j. In otherwise failing to use the care and caution required by law.

11. Solely as a result of the aforesaid negligence of the Defendant, the Plaintiff Carl
E. Baker has suffered the following injuries:

Lateral disc herniation at the L4-5 level with nerve root compression;

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Serious and severe injuries to his cervical spine and back;

Large hematomas to his right thigh;

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Hematomas and contusions to his legs;
Lacerations and other injuries to his head;
Contusions to his low back;

Pain and stiffness and swelling over much of his body; and

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other serious and severe injuries.

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12. Solely as a result of the aforesaid injuries caused by the conduct of the Defendant
the Plaintiff, Carl E. Baker, has endured severe pain and suffering, both physical and mental, and
severe stress, strain, mental anguish, anxiety, humiliation and inconvenience, and will in the

future continue to endure such pain and suffering, stress, strain, mental anguish, anxiety,

humiliation and inconvenience by reason of said injuries.

13. Solely as a result of the aforementioned injuries caused by the conduct of the

Defendant as aforesaid, the Plaintiff, Carl E. Baker, has incurred the following damages among

others:

(a)

(b)

(C)

(d)

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He has, may and probably will for an indefinite time in the future
be obligated to expend various sums of money for medical and
surgical attention, hospitalization, medicines, drugs, prosthetic
devices, and other medical expenses in and about endeavoring to

treat and cure himself of said injuries.

He has, may and probably will for an indefinite time in the nature

suffer a loss of earnings

He has, may and probably will for an indefinite time in the future
suffer great pain, inconvenience, embarrassment and mental

anguish.
He has, may and probably will for an indefinite time in the future
be deprived of the ordinary pleasures of life, loss of well-being and

equanimity.

He has suffered a permanent diminution of his earning capacity

and power.

His overall health, strength and vitality has been greatly impaired

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WHEREFORE, the Plaintiff, Carl E. Baker, demands a judgment against the Defendant,
Range Resources, in the sum of more than $75,000.00 plus costs, interest and such other relief as

this Court deems just.

JURY TRIAL DEMANDED.

IV. COUNT II
MARTHA J. BAKER vs.
RANGE RESOURCES

14. The Plaintiffs incorporate herein by reference thereto all of the allegations of

paragraphs 1 through 13 above as if more fully set forth herein at length.

15. Solely as a result of the injuries received by the husband Plaintiff, Carl E. Baker,
the wife Plaintiff, Martha J. Baker, has incurred the following damages:

(a) She has, may and probably will for an indefinite time in the future
be obligated to expend various sums of money for medical and
surgical attention, hospitalization, medicines, drugs, prosthetic
devices and other medical expenses in and about endeavoring to
treat and cure the husband Plaintiff, Carl E. Baker, of his said
injuries, and she may be obligated to continue to expend such sums

and incur such expenditures for an indefinite time in the future.

(b) She has, may and probably will for an indefinite time in the future
suffer loss of the husband Plaintiff, Carl E. Baker’s earning
capacity and power which loss of earnings and impairment of

earning capacity or power is or may be permanent

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(c) She has, may and probably will for an indefinite time in the future

suffer a loss of the husband Plaintiff, Carl E. Baker’s love, comfort

and society.

(d) She has suffered a loss of consortium.

WHEREFORE, the Plaintiff, Martha J. Baker, demands a judgment against the Defendant,

Range Resources, in the sum of more than $75,000.00 plus costs, interest and such other relief as

this Court deems just.

JURY TRIAL DEMANDED.

Date: /1/2.0/13

Respectfully submitted,

BARBERA, MELVIN, SVONAVEC
& SPERLAZZA, LLP

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